                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                      )
 et al.,                                           )
                                                   )
                Plaintiffs and                     )
                Counterclaim Defendants,           )
                                                   )
 v.                                                )         Case No. 4:16-cv-02163
                                                   )
 PEOPLE FOR THE ETHICAL                            )
 TREATMENT OF ANIMALS, INC., et al.,               )
                                                   )
                Defendants and                     )
                Counterclaim Plaintiffs.           )

                          DECLARATION OF JARED GOODMAN

       Pursuant to 28 U.S.C. § 1746, I, Jared Goodman, declare the following to be true and

correct to the best of my knowledge and belief:

       1.      I am counsel for Counterclaim Plaintiffs People for the Ethical Treatment of

Animals, Inc. and Angela Scott (together, “Plaintiffs”). I make this declaration based upon my

personal knowledge.

       2.      On October 29, 2018, I attended the duly noticed deposition of Counterclaim

Defendant Connie Braun Casey (“Casey”), taken by my co-counsel, Martina Bernstein. During the

examination, we learned that Casey had yet to produce numerous documents responsive to

Plaintiffs’ February 23, 2018, discovery requests. [ECF #123-3.] Attached hereto as Exhibit A is

a true and correct copy of the relevant pages of the transcript of Casey’s deposition.

       3.      On November 15 at noon, my co-counsel Martina Bernstein and I conferred by

telephone with Casey’s counsel Victor Essen about outstanding discovery and the resumption of

Casey’s deposition. In response to our request for a date for the deposition, Mr. Essen stated that
he would wait to provide a date for the deposition until after the outstanding discovery had been

produced.

       4.      Subsequently, Casey produced, among other things, approximately 100 pages of

emails and 250 photographs, on or about December 5, and approximately 300 pages of emails,

on or about December 19, in addition to other documents.

       5.      On December 19 at 1:00 p.m., after Casey had produced over seven hundred

pages of documents, my co-counsel Martina Bernstein and I again conferred by telephone with

Casey’s counsel Victor Essen about the resumption of Casey’s deposition. We again requested a

date for Casey’s follow-up deposition about the matters as to which Plaintiffs lacked an

opportunity to depose her previously. Mr. Essen again refused to provide a date—unless we

agreed to limit the deposition to just one hour.

       6.      While we agreed with Mr. Essen that the deposition would be strictly limited to

documents that had not been produced before October 29, we explained that we could not

commit to concluding the deposition in only one hour, given the extent and material nature of

Casey’s belated production. Mr. Essen re-iterated that he would only agree to a follow-up

deposition if we would agree to limit it to one hour.

       I declare under the penalty of perjury that the foregoing is true and correct.



January 2, 2019

Los Angeles, CA                                         /s/ Jared Goodman
                                                        Jared Goodman




                                                   2
Exhibit A
1                   UNITED STATES DISTRICT COURT
2               FOR THE EASTERN DISTRICT OF MISSOURI
3
4    MISSOURI PRIMATE FOUNDATION, et al.,
5                    Plaintiff,
6         vs.                                         Case No.
7    PEOPLE FOR THE ETHICAL TREATMENT                 4:16-cv-02163-CDP
8    OF ANIMALS, INC., et al.,
9                     Defendant.
10   ____________________________________
11
12
13
14        Videotaped Deposition of CONNIE BRAUN CASEY,
15   taken on behalf of the Defendant, at the offices of
16   Rynearson, Suess, Schnurbusch & Champion, LLC, 500
17   N. Broadway, Suite 1550, in the City of St. Louis,
18   State of Missouri, on the 29th day of October, 2018,
19   before Kristine A. Toennies, RMR, CRR, CRC, CCR
20   (MO), CSR (IL & IA), and Notary Public.
21
22
23
24   JOB No. 3027726
25   PAGES 1 - 338

                                                                 Page 1

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1        A      My records are kept in my USDA folder.
2        Q      You have a USDA folder?
3        A      Uh-huh.
4        Q      Other than your USDA folder, do you keep any
5    other records anywhere, photographs, videos,
6    e-mails?
7        A      My phone, maybe a camera, but I haven't used
8    my camera for years.
9        Q      Is that the smart phone that you're
10   referring to?        Do you receive e-mails on that phone?
11       A      Yes, I can.
12       Q      So do you receive e-mails relating to the
13   chimpanzees at your phone?
14       A      I -- very seldom do I have e-mails relating
15   to the chimpanzees.
16       Q      But you do receive e-mails relating to the
17   chimpanzees at your phone?
18       A      I've had this phone about a year, so yeah.
19       Q      And before then did you have a different
20   phone?
21       A      Yes.
22       Q      And you got e-mails on that phone?
23       A      No.
24       Q      Who is taking care of the chimpanzees today?
25       A      Actually, my daughter is there and Tonia is

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1        A   Just what I could pull up on my records.
2        Q   Right.    Did you produce all of those to us?
3        A   No.
4        Q   You have others?
5        A   No, I don't think I have them.
6        Q   Did you look?
7        A   Yes, I've looked.
8        Q   Where did you look?
9        A   In my -- in my book where I've kind of kept
10   stuff down.
11       Q   The folder, is that the folder that -- the
12   USDA folder that you --
13       A   No.
14       Q   Oh, you have a separate book?
15       A   Not really.     It's just I jotted stuff down
16   on some papers.    I don't know where they're at.
17       Q   The notebook that you brought with you
18   today, what's in there?
19       A   This is my enrichment.
20       Q   Your enrichment what?
21       A   Enrichment for the chimps.
22       Q   Was all of that produced?              Did you give that
23   to your attorneys to produce to us?
24       A   The original book was -- you've got the
25   original book.    This was the new one, and it was up

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1    here, but I don't know that it got printed up.
2        Q     What do you mean the new one?          What are the
3    dates?
4        A     The date on this one starts January 2017.
5        Q     And why did you not provide that?
6        A     It got changed as the attorneys changed.
7    The one I had -- because I write in this stuff every
8    week.
9        Q     Right.   The question is why was that not
10   produced to us?     Did you not give that to your
11   attorneys?
12       A     At one point it was up here, and then I
13   brought this one up today because --
14       Q     What is the this one?          What are you holding
15   in your hands?     What is that?
16       A     My little note --
17       Q     Your calendar?
18       A     Yeah.
19       Q     You did not provide that to your attorneys
20   either?
21       A     I didn't this one because --
22       Q     You did not?
23       A     I was keeping this one updated.          This one
24   here I think was up here for a while, but it might
25   not have gotten printed up.

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1    and they did X-rays, and it showed that she had a
2    lot of fluid built up.
3        Q   When did Kimmy start to have lesions on her
4    foot?
5        A   She had previously a couple years ago had
6    injured her foot, and she was treated then, and she
7    had -- I'm trying to think.        It was probably six
8    weeks -- I don't know if I've got it in here or not.
9    We were treating her for a foot injury where the
10   skin was pulled off, but Kimmy was a picker, so
11   every time it would start to heal, she would peel
12   the skin back off again.     And we first started
13   treating her for her foot on August the -- it looks
14   like the 14th.
15       Q   2018?
16       A   Yes.
17       Q   You're referring to a calendar that you
18   have?
19       A   Yes.
20       Q   Did you keep a calendar like this for the
21   previous year?
22       A   Yeah, but sometimes I don't write everything
23   down.
24       Q   Right, but you kept a calendar like this,
25   similar to this for the previous year?

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1        A     Uh-huh.
2        Q     Yes?
3        A     Yes, ma'am.
4        Q     Where is that calendar?
5        A     I don't know.
6        Q     Do you have it?
7        A     I don't know.
8        Q     Did you look for it?
9        A     I looked through my records and I didn't see
10   the calendar.
11       Q     Did you throw it out?         Do you recall what
12   happened to it?
13       A     I don't know.
14       Q     Is there a reason why we weren't provided
15   copies of this calendar that you're having in front
16   of you?
17       A     I guess it just -- because I write in it
18   every day, and so I guess there just wasn't -- it
19   wasn't up here to get it printed.
20       Q     So you say Kimmy was a picker.         For how long
21   was she a picker?
22       A     Kimmy has been a picker all of her -- I got
23   her in 1986, and she was 30-something years old when
24   I got her, and she's always -- if she had a little
25   spot, she would pick at it.

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1        Q   No, any e-mails that you might have sent or
2    received via the Connie2Me@aol.com account, you did
3    not search?
4        A   No.
5        Q   The ConnieBraunCasey@gmail.com account, did
6    you search that for communications that may be
7    required to be produced in this case?
8        A   Yes, I have.
9        Q   When did you do that search?
10       A   I -- I look on my Gmail account at least
11   every other day.
12       Q   When did you search for your past e-mails to
13   determine whether there were communications that
14   needed to be produced?
15       A   The only e-mails I have on there basically
16   is from my attorneys.
17       Q   When did you search --
18       A   When did I?     Okay.
19       Q   I have to finish.       When did you search for
20   your past e-mails to determine whether there were
21   communications that needed to be produced?
22       A   Probably two weeks ago.
23       Q   When you searched, did you find the e-mail
24   where your lawyers, your previous lawyers sent you
25   that statement that we --

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1          A    Yes.
2          Q    -- discussed?   And did you find it?
3          A    Yes.
4          Q    So you have an e-mail where your attorneys
5    attached the statement that they forwarded to the
6    press?
7          A    Yes.
8          Q    Why was the statement not produced to us?
9          A    I don't know.   I figured you probably had
10   it.
11         Q    You figured?
12         A    Uh-huh, yeah.   I mean, it was put in here
13   and edited.
14         Q    Right, but the unedited statement, where
15   would we have gotten it?        Did you provide it to your
16   lawyers?
17         A    No.
18         Q    The ConnieBraunCasey@gmail.com account, did
19   you use it at any time to communicate with
20   Dr. Pernikoff at any time?
21         A    Yes.
22         Q    Why were your e-mail communications to
23   Dr. Pernikoff not produced?
24         A    I don't know.
25         Q    The ConnieBraunCasey@gmail.com account, did

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1    you use it at any time to communicate with
2    representatives of the DeYoung Zoo?
3           A   I don't think so.
4           Q   But you're not sure?
5           A   I'm not a hundred percent sure.
6           Q   And you did not review your e-mail
7    account --
8           A   I did review --
9           Q   I need to finish.      You did not review your
10   e-mail account to find out whether or not you had
11   e-mail communications to representatives from the
12   DeYoung Zoo; is that right?
13          A   I reviewed my e-mail account a couple weeks
14   ago, and I did not see anything in there to DeYoung
15   Zoo.
16          Q   How far back did you review your e-mails?
17          A   As far back as my phone would let me go.
18          Q   How far back does your phone let you go?
19          A   I don't know.     It goes back so -- probably
20   five months until you -- it quits working.
21          Q   So you have access to about five months of
22   e-mails?     And what happened to the previous e-mails?
23          A   I don't know.     I guess I have to -- I
24   probably have to go log on to somebody's computer to
25   pull stuff out.

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1           A     No, I have not.
2           Q     Okay.    Do you have photographs or videos of
3    any of the chimpanzees?
4           A     Do I?
5           Q     Yes.
6           A     Well, of course.
7           Q     How many?
8           A     Thousands probably over the years.
9           Q     Where are they stored?
10          A     Where?    Hell, I've got tons of 8-track
11   videos and tons of pictures.
12          Q     And where are they kept?
13          A     Some of them is printed out; some of them is
14   not.       Some of them is in my camera that I don't even
15   know where it's at.          Some of them is in my phone.
16          Q     You didn't produce any of those?
17          A     You have a bunch of pictures that I sent.
18          Q     Oh, we do?
19          A     Yes, you do.      They're -- well, I seen them
20   somewhere that they were turned over to you, I think
21   probably either with Reeg or with Dan or Mr. Clark.
22          Q     Did you give your lawyers all the
23   photographs you have in your camera?
24          A     I don't even know where my camera is.       I
25   haven't used my camera for years.

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1        Q    Did you search for your camera?
2        A    Yes, I have.
3        Q    You don't know where you kept your camera?
4        A    No, I don't.
5        Q    You can't find your camera?
6        A    I haven't -- no, I don't know where it's at.
7        Q    How hard did you look?
8        A    Hard enough.
9        Q    So you have pictures on your camera, but you
10   have no idea where your camera is; is that right?
11       A    I haven't used my camera for probably four
12   years.
13       Q    Right, the question is you have pictures on
14   your camera, but you do not know where your camera
15   is located?
16       A    Unsure.
17       Q    You don't know where your camera is located?
18       A    No, I don't.
19       Q    Okay.     You have 8-track videos, but you have
20   not produced those, have you?
21       A    No.     I probably have 500 8-track things
22   because I've been doing chimps for over 50 years.
23       Q    Right.     You have not produced those?
24       A    No.     Why should I produce something 50 --
25   hell, I don't even have an 8-track to watch them

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1    anymore.
2        Q      You did not produce them is the question?
3        A      No.
4        Q      And you mentioned tons of pictures.             Did you
5    give those -- did you give all the pictures to your
6    attorneys --
7        A      No.
8        Q      -- to make copies to produce those?
9        A      No.     But you know, how do you -- how do I
10   produce pictures that's been taken over 50 years?
11       Q      Do you know what APHIS Form 7002 is?
12       A      I would have to look at the number.
13       Q      Do you know that we requested it
14   specifically?
15       A      It's in here somewhere.
16       Q      Right.     You're aware we requested certain
17   forms?
18       A      Yes.
19       Q      And what happened to those?             Why did we not
20   get those?
21       A      You got them.      As far as I know, you got
22   them.
23       Q      For the last three years dated 2018, 2017
24   and 2016?        Do you have those for 2018, 2017 --
25       A      Let me see what the file looks like.

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1    this building.
2        Q      Is that the plan?
3        A      That's the plan.
4        Q      Okay.   Is there a reason you didn't do it
5    earlier?     Do you have to think about that?
6        A      You know what I have to think about?       This
7    is so dam stressful.        I love these animals with all
8    my heart, and I would like to tell you to go to hell
9    right now, but I won't.         And I apologize for even
10   thinking I want to tell you that because I am not
11   that kind of person, but I am so stressed out, and I
12   love these chimps with all my heart, and you guys
13   are driving me crazy.
14       Q      Do you need to take a minute?
15              MS. BERNSTEIN:     Let's go off the record.
16              THE WITNESS:     I need you guys just to
17   disappear and leave me and my chimps alone.
18              MS. CHAMPION:     All right, Connie, let me
19   make a record real quick while you're taking a
20   minute.     If you want to leave, make sure you take
21   your video thing off or audio thing off.
22              Victor brought in some documents a while ago
23   that we have for you, so I'm going to make a record
24   on providing you with these so you have them.
25              Okay, so we have USDA records that were

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1    provided to Connie and to --
2               MS. BERNSTEIN:     Well, this is not the time
3    to throw them across the table.
4               MS. CHAMPION:     Well, I don't mean to throw
5    them across the table.        I'm trying to hand them to
6    you, and you sat and looked at me and didn't take
7    them.
8               MS. BERNSTEIN:     No, just put them aside for
9    now and make your record as to what you are going to
10   be producing.
11              MS. CHAMPION:     Okay.     And then we'll
12   supplement these too, but I didn't want you not to
13   have them today because these are the ones we just
14   received in the e-mail.
15              And then secondly, I don't know what this
16   is, but it's a document that she's provided that has
17   notes on it from Mitchell's, Jim Devereux.
18              THE WITNESS:     Oh, that's -- that ain't
19   nothing.
20              MS. CHAMPION:     Let's give it to them anyway
21   because it came in with some other things.
22              Then we've got copies of the calendar that
23   she brought with her today which weren't previously
24   provided from January 2017, and we have -- what's
25   this?   Your purple notebook?          Is that the purple

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1    head give you the complete list.
2            MS. CHAMPION:     Okay.
3            MS. BERNSTEIN:     I will just refer you to
4    e-mails I sent repeatedly asking for those things.
5            MS. CHAMPION:     Okay.     I'll look at that
6    again, but I think we've answered since then as to
7    what we have.
8            Anyway, my point is simply this.          I
9    understand that you still need e-mails and photos,
10   and to the extent that there are follow-up regarding
11   the things that are going to be subsequently
12   provided to you, assuming that there are these
13   things, obviously you'll need to do your follow-up
14   on those, but we would object to anything that goes
15   beyond anything you haven't already seen.             And I
16   understand as well that you've asked her certain
17   questions about some of the records we've produced,
18   so you had a chance to look at some of it.
19           MS. BERNSTEIN:     No, no.       What I asked were
20   about documents that were previously produced that
21   were re-produced today.
22           MS. CHAMPION:     Yeah, I think most of what
23   we've produced to you today was re-produced.
24           MR. GOODMAN:     No.
25           MS. BERNSTEIN:     No.

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1    that we haven't gotten obviously.              We didn't even
2    get any time for Dr. Pernikoff's deposition, which
3    apparently now is becoming critical because there's
4    completely different testimony about certain things,
5    so we would appreciate to get those records and to
6    have a date when we can resume for purposes of
7    including all the stuff that should have been
8    produced that was not.       Other than that, I'm
9    suspending the deposition at this point.
10             MS. CHAMPION:     Sounds good.
11             MS. BERNSTEIN:     Reserving all the rights.
12             MS. CHAMPION:     And we would also reserve our
13   right to object, but we'll talk about that further.
14             MS. BERNSTEIN:     Of course.         We're off the
15   record.
16             THE VIDEOGRAPHER:      We're going off the
17   record.    This concludes today's testimony given by
18   Connie Braun Casey.       The time is 5:42.
19                    (Deposition adjourned.)
20
21
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